                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                        Case No. 14-49569

DAVID LORENZO VALDIVIA,                                       Chapter 7

                Debtor.                                       Judge Thomas J. Tucker
                                          /

MARY A HAUK,

                Plaintiff,

v.                                                            Adv. Pro. No. 14-4753

DAVID LORENZO VALDIVIA,

                Defendant.
                                          /

             OPINION AND ORDER DENYING PLAINTIFF’S REQUEST FOR
                   ISSUANCE OF REVISED WRIT OF EXECUTION

         This case presents the question whether a federal bankruptcy court may issue a writ of

execution directing that a state court officer, rather than the United States Marshals Service,

execute the writ. The Court concludes that the answer is no.

I. Background

         On September 3, 2014, the Court entered a default judgment against the Defendant in this

adversary proceeding (Docket # 7), in the total amount of $478,676.39, plus interest. The default

judgment stated that this debt is nondischargeable in Defendant’s bankruptcy case.

         On September 26, 2014, at Plaintiff’s request, the Clerk of this Court issued a writ of

execution. (Docket # 8). Before issuing the writ, however, the Clerk struck certain language, at

the undersigned judge’s direction. As submitted, the proposed writ of execution was directed to




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the following: “TO ANY SHERIFF, DEPUTY SHERIFF, OR DEPUTY U.S. MARSHALL:”

The Court caused the Clerk to strike the words “SHERIFF, DEPUTY SHERIFF” by hand before

issuing the writ, to make clear that the writ was directed only to the United States Marshal, and

not to any state sheriff, deputy sheriff, or state court officer.

        On October 6, 2014, the Clerk received a letter and a proposed revised writ of execution

from Plaintiff’s attorney. (Docket # 9). The proposed writ contains language similar to that

which the Clerk struck from the earlier writ of execution. It is addressed to the following: “TO

ANY SHERIFF, DEPUTY SHERIFF, OR COURT OFFICER.” This language omits the earlier

writ’s reference to the Unites States Marshal. The letter from Plaintiff’s attorney requests that

the revised writ be issued so that a state court officer, rather than the United States Marshals

Service, can serve and execute on the writ of execution. And the proposed writ names a

particular state court officer to serve the writ — it says “Writ to be served by: Michael Jones,

Court Officer.”

II. Discussion

        The Court must deny Plaintiff’s request to issue the proposed writ of execution, for the

following reasons.

        Plaintiff’s counsel’s letter argues, without citing any authority, that “[t]here is no

requirement that a U.S. Marshal must serve an Execution Against Property.” But the Court

concludes that only the United States Marshals Service may serve and execute on a writ of

execution issued by this Court. No state court officer may do so. See Branch Banking & Trust v.

Ramsey, 559 Fed. Appx. 919, 924 (11th Cir. 2014)(interpreting 28 U.S.C. § 566(c) to mean that

“only a U.S. marshal may execute the federal writ of execution by levying on and selling [a


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judgment debtor defendant’s] property”).1 This Court has no authority to direct a state officer to

serve and execute on a writ of execution. Only an appropriate state court would have such

authority.

        In his letter, Plaintiff’s counsel states certain reasons why he believes it would be faster,

less expensive, and more effective for a state court officer to levy on the writ of execution in this

case. But if Plaintiff’s counsel wants to use a state court officer to execute on a writ of

execution, he can only accomplish that by domesticating this Court’s September 3, 2014 default

judgment in an appropriate Michigan court, and then have that Michigan court issue its own writ

of execution, which a state court officer can then serve. Plaintiff can file an authenticated copy

of this Court’s judgment in the office of the clerk of a circuit, district, or municipal court in the

state of Michigan under the “Uniform Enforcement of Foreign Judgments Act.” Mich. Comp.

Laws Ann. §§ 691.1171-691.1179. That Michigan law provides, in relevant part:

                Sec. 3. A copy of a foreign judgment authenticated in accordance
                with an act of congress or the laws of this state may be filed in the
                office of the clerk of the circuit court, the district court, or a
                municipal court of this state. The clerk shall treat the foreign
                judgment in the same manner as a judgment of the circuit court, the
                district court, or a municipal court of this state. A judgment filed
                under this act has the same effect and is subject to the same
                procedures, defenses, and proceedings for reopening, vacating, or
                staying as a judgment of the circuit court, the district court, or a
                municipal court of this state and may be enforced or satisfied in
                like manner.

Mich. Comp. Laws Ann. § 691.1173 (bold emphasis added). As used in this statute, “foreign

judgment” includes a judgment of the United States Bankruptcy Court — it “means any


        1
          28 U.S.C. § 566(c) states: “(c) Except as otherwise provided by law or Rule of Procedure, the
United States Marshals Service shall execute all lawful writs, process, and orders issued under the
authority of the United States, and shall command all necessary assistance to execute its duties.”

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judgment, decree, or order of a court of the United States or of any other court that is entitled to

full faith and credit in this state.” Mich. Comp. Laws Ann. § 691.1172.

III. Order

       For the reasons stated above,

       IT IS ORDERED that Plaintiff’s request for the issuance of a revised writ of execution in

this adversary proceeding (Docket # 9) is denied.


Signed on October 10, 2014                             /s/ Thomas J. Tucker
                                                       Thomas J. Tucker
                                                       United States Bankruptcy Judge




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